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7                               UNITED STATES DISTRICT COURT
8                            CENTRAL DISTRICT OF CALIFORNIA
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10 UNITED STATES OF AMERICA,                       No. 2:21-cr-491-SB
                                                   Hon. Stanley Blumenfeld Jr.
11                 Plaintiff,
12                                                 [PROPOSED] ORDER GRANTING
                        v.                         FORTENBERRY LEAVE TO FILE A
13                                                 MOTION TO STRIKE THE
14 JEFFREY FORTENBERRY,                            GOVERNMENT’S PSR OBJECTIONS
                                                   AND OPPOSITION TO THE
15                Defendant.                       GOVERNMENT’S REQUESTS FOR
16                                                 GUIDELINES ENHANCEMENTS

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19         For good cause shown in Jeffrey Lane Fortenberry’s Unopposed Ex Parte
20   Application for Leave to File (“Application”) his Motion to Strike the Government’s PSR
21   Objections and Opposition to the Government’s Requests for Guidelines Enhancements
22   (“Motion to Strike and Opposition Brief,” filed at Dkt. 216), the Application is GRANTED.
23   The Motion to Strike and Opposition Brief are accepted for filing.
24         IT IS SO ORDERED.
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26   DATED:
                                                 Hon. Stanley Blumenfeld, Jr.
27                                               United States District Judge
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